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                        Exhibit 3

               Docket Sheet and Complaint
               Hansen, et al. v. Walmart, Inc.,
               No 3:23-cv-05466 (N.D. Cal.)
            Case MDL No. 3089 Document 233-5 Filed 10/25/23 Page 2 of 37

                                                                                                  ADRMOP
                                    U.S. District Court
                       California Northern District (San Francisco)
                     CIVIL DOCKET FOR CASE #: 3:23−cv−05466−SK

Hansen et al v. Walmart, Inc.                                    Date Filed: 10/24/2023
Assigned to: Magistrate Judge Sallie Kim                         Jury Demand: Plaintiff
Cause: 28:1332 Diversity−Product Liability                       Nature of Suit: 367 Personal Injury: Health
                                                                 Care/Pharmaceutical Personal Injury
                                                                 Product Liability
                                                                 Jurisdiction: Diversity
Plaintiff
Emily Hansen                                      represented by William A. Kershaw
                                                                 Kershaw Talley Barlow PC
                                                                 401 Watt Avenue
                                                                 Ste 1
                                                                 Sacramento, CA 95864
                                                                 916−779−7000
                                                                 Fax: 916−721−2501
                                                                 Email: bill@ktblegal.com
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
Sommer Milous                                     represented by William A. Kershaw
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
Andrew Gutierrez                                  represented by William A. Kershaw
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED


V.
Defendant
Walmart, Inc.


 Date Filed      #   Docket Text
 10/24/2023       1 COMPLAINT against Walmart, Inc. ( Filing fee $ 402, receipt number
                    ACANDC−18769057.). Filed by Emily Hansen, Andrew Gutierrez, Sommer Milous.
                    (Attachments: # 1 Civil Cover Sheet)(Kershaw, William) (Filed on 10/24/2023)
                    (Entered: 10/24/2023)
 10/24/2023       2 Certificate of Interested Entities by Andrew Gutierrez, Emily Hansen, Sommer Milous
                    (Kershaw, William) (Filed on 10/24/2023) (Entered: 10/24/2023)
 10/24/2023       3 Proposed Summons. (Kershaw, William) (Filed on 10/24/2023) (Entered: 10/24/2023)
 10/24/2023          Electronic filing error. Incorrect Civil Cover Sheet used. Please use our most current
                     version (10/2020) found on our website www.cand.uscourts.gov. No judge assignment
                     will be made until the document is e−filed. Submit your document using Civil Events
                     > Other Filings > Other Documents > Civil Cover SheetThis filing will not be
                     processed by the clerks office.Please re−file in its entirety. Re: 1 Complaint filed by
                     Sommer Milous, Andrew Gutierrez, Emily Hansen (ark, COURT STAFF) (Filed on
                     10/24/2023) (Entered: 10/24/2023)
 10/24/2023       4 Civil Cover Sheet by Andrew Gutierrez, Emily Hansen, Sommer Milous . (Kershaw,
                    William) (Filed on 10/24/2023) (Entered: 10/24/2023)
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10/25/2023   5 Case assigned to Magistrate Judge Sallie Kim.

                Counsel for plaintiff or the removing party is responsible for serving the Complaint or
                Notice of Removal, Summons and the assigned judge's standing orders and all other
                new case documents upon the opposing parties. For information, visit E−Filing A New
                Civil Case at http://cand.uscourts.gov/ecf/caseopening.

                Standing orders can be downloaded from the court's web page at
                www.cand.uscourts.gov/judges. Upon receipt, the summons will be issued and
                returned electronically. A scheduling order will be sent by Notice of Electronic Filing
                (NEF) within two business days. Consent/Declination due by 11/8/2023. (as, COURT
                STAFF) (Filed on 10/25/2023) (Entered: 10/25/2023)
10/25/2023   6 Initial Case Management Scheduling Order with ADR Deadlines: Case
               Management Statement due by 1/15/2024. Initial Case Management Conference
               set for 1/22/2024 01:30 PM in San Francisco, Courtroom C, 15th Floor. (far,
               COURT STAFF) (Filed on 10/25/2023) (Entered: 10/25/2023)
10/25/2023   7 Summons Issued as to Walmart, Inc.. (far, COURT STAFF) (Filed on 10/25/2023)
               (Entered: 10/25/2023)
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11 Counsel for Plaintiffs

12                              UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA

14
   EMILY HANSEN, SOMMER MILHOUS, and                 )   Case No.:
15 ANDREW GUTIERREZ, individually and on             )
   behalf of all others similarly situated,          )   CLASS ACTION COMPLAINT
16                                                   )
                                Plaintiff(s),        )
17                                                   )
          vs.                                        )   JURY TRIAL DEMANDED
18                                                   )
   WALMART, INC.,                                    )
19                                                   )
                                                     )
20                            Defendant.             )
                                                     )
21

22         EMILY HANSEN, SOMMER MILHOUS, and ANDREW GUTIERREZ, (“Plaintiffs”), on

23 behalf of themselves and all others similarly situated, file this Class Action Complaint (“CAC”)

24 against Defendant Walmart, Inc. (“Walmart”), and in support states the following:

25                                   NATURE OF THE ACTION

26         1.      Nasal decongestants are over-the-counter medications that are marketed to alleviate

27 sinus pressure and sinus congestion.

28         2.      Defendant has made millions of dollars selling its nasal decongestant products.

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 1 Defendant’s products include the following oral tablets, caplets, powder, and/or syrup: (1) Equate

 2 Children’s Cold and Cough, (2) Equate Daytime Cold & Nighttime Cold & Cough Multi-

 3 Symptoms Severe Relief Powder, (3) Equate Nighttime Vapor Ice Severe Cold and Flu Coated

 4 Caplets, (4) Equate Daytime Non-Drowsy Vapor Ice Severe Cold and Flu Coated Caplets, and (5)

 5 Equate Maximum Strength Daytime Cold & Flu Softgels with Acetaminophen (collectively, the

 6 “Products”).

 7           3.    Defendant markets the Products as having the ability to provide relief to “Sinus

 8 Pressure,” “Sinus Congestion,” “Nasal Congestion,” and/or “Nasal Swelling.”

 9           4.    Defendant attributes the Products’ ability to provide nasal decongestion relief to the

10 inclusion of one active ingredient: Phenylephrine (“PE”).

11           5.    PE however, is ineffective at providing nasal decongestion relief when it is taken

12 orally.

13           6.    Indeed, on September 12, 2023, an advisory panel to the U.S. Food & Drug

14 Administration (“FDA”) unanimously agreed (16-0) that oral PE is not effective at relieving nasal

15 congestion.

16           7.    Accordingly, Defendant’s marketing and advertising concerning the Products is

17 false, misleading, and likely to deceive the public.

18           8.    Plaintiffs assert claims on behalf of themselves and similarly situated purchasers of

19 Defendant’s Products for violations of the California Consumers Legal Remedies Act (“CLRA”),

20 Civil Code §§ 1750, et seq., Unfair Competition Law (“UCL”), Bus. & Prof. Code §§ 17200, et

21 seq., False Advertising Law (“FAL”), Bus. & Prof. Code §§ 17500, et seq., breach of implied

22 warranty of merchantability, unjust enrichment, and negligent misrepresentation.

23                                            THE PARTIES

24           9.    Plaintiff Emily Hansen is a resident of Santa Rosa, California, has an intent to
25 remain there, and is therefore a domiciliary of California.

26           10.   Plaintiff Sommer Milhous is a resident of Browns Valley, California, has an intent
27 to remain there, and is therefore a domiciliary of California.

28           11.   Plaintiff Andrew Gutierrez is a resident of Patterson, California, has an intent to

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 1 remain there, and is therefore a domiciliary of California.

 2          12.     Plaintiffs purchased various oral Equate products in California at Walmart

 3 containing phenylephrine hydrochloride for nasal decongestant relief multiple times. Before

 4 purchasing the Product, Plaintiffs reviewed information about the Product, including the

 5 representation that the Product would be able to provide nasal congestion relief. When reviewing

 6 the Product label, disclosures, warranties, and marketing materials, Plaintiffs understood them as

 7 representations and warranties by Defendant that the Product would be able to provide nasal

 8 decongestion relief.

 9          13.     Plaintiffs relied on Defendant’s representations and warranties in deciding to

10 purchase the Product over other nasal decongestant products. Accordingly, Defendant’s

11 representations and warranties were part of the basis of the bargain, in that they would not have

12 purchased the Product on the same terms had they known Defendant’s representations were not

13 true.

14          14.     Contrary to the representations on the Products’ marketing materials, the Products

15 were not able to provide nasal decongestion relief. Plaintiffs therefore did not receive the benefit of

16 their bargain.

17          15.     Plaintiffs continue to be exposed to Defendant’s marketing materials for these

18 ineffective Products. Plaintiffs continue to encounter the Products on display for sale to consumers

19 at retail businesses where they regularly shop. Plaintiffs would purchase Defendant’s Products

20 again in the future if they were assured that Defendant’s Products had been reformulated using

21 generally recognized as safe and effective (“GRASE”) ingredients that are proven effective for

22 decongestant relief as advertised by Defendant.

23          16.     Defendant Walmart, Inc. is an Arkansas corporation with its headquarters and

24 principal place of business at 702 SW 8th Street, Dept 8687 #0555, Bentonville, Arkansas 72716.

25 Walmart manufactures, markets, advertises, labels, distributes, and sells phenylephrine products

26 under its Equate product line. Walmart may be served via its registered agent, C T Corporation

27 System, 330 N. Brand Blvd, Ste. 700, Glendale, CA 91203.

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 1                                           JURISDICTION AND VENUE

 2              17.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332(d)(2)(A)

 3 because this case is a class action where the aggregate claims of all members of the proposed class

 4 are in excess of $5,000,000.00, exclusive of interest and costs, there are over 100 members of the

 5 putative class, and Plaintiffs, as well as most members of the proposed class, are citizens of states

 6 different than Defendant.

 7              18.     This Court has personal jurisdiction over the Defendant because the Defendant is

 8 authorized to conduct business in California, such that Defendant has significant, continuous, and

 9 pervasive contacts with the State of California. Moreover, Defendant has purposefully availed itself

10 of the laws and benefits of doing business in California, and Plaintiffs’ claims arise out of the

11 Defendant’s forum-related activities. Defendant has marketed, promoted, distributed, and sold the

12 Products in California.

13              19.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant

14 transacts significant business within this District and because Plaintiffs purchased and used the

15 Products in this District.

16                                            FACTUAL ALLEGATIONS

17              20.     The market for products that allegedly relieve nasal congestion is worth over $2
18 billion annually and includes over 250 products.

19              21.     Defendant Walmart marketed and sold the Products to consumers in California and
20 across the United States as an effective nasal decongestant.

21              22.     The main so-called “active ingredient” in the Products is phenylephrine
22 hydrochloride (“PE” or “phenylephrine”). However, “[n]o support has been found in the literature

23 in the public domain for the efficacy of PE as a nasal decongestant when administered orally.”1

24              23.     Another prominent active ingredient found in OTC cold and cough medicines (but
25 not in the Products at issue in this litigation) is pseudoephedrine hydrochloride (“PDE” or

26

27

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     1
         https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2000711/ (last viewed Oct. 20, 2023).
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 1 “pseudoephedrine”).2 Unlike PE, “[c]linical studies of PDE provide sufficient information to

 2 support the efficacy” of PDE in OTC dosage amounts.3

 3              24.      Unfortunately,      Pseudoephedrine        hydrochloride      can     be    converted        into

 4 methamphetamine. In 2006, the Combat Methamphetamine Act banned over-the-counter sales of

 5 cold medicines that contain the ingredient pseudoephedrine. Since such time, the sale of cold

 6 medicine containing pseudoephedrine is limited to behind the counter. The amount of

 7 pseudoephedrine that an individual can purchase each month is limited and individuals are required

 8 to present photo identification to purchase products containing pseudoephedrine. In addition, stores

 9 are required to keep personal information about purchasers for at least two years.4

10              25.      This has translated into increased sales for decongestants that contain PE. Last year,

11 242 million packages or bottles of phenylephrine products were sold, resulting in $1.76 billion in

12 sales. In contrast, only a little over 50 million packages of pseudoephedrine were sold that same

13 year, resulting in $542 million in sales.5

14 The Financial Significance of a GRASE Designation for Defendant

15              26.      As discussed below, the FDA has previously designated PE as generally recognized
16 as safe and effective despite the lack of peer-reviewed scientific evidence to support PE’s efficacy

17 as an oral decongestant. However, after a two-day meeting on September 11-12, 2023, the FDA

18 concluded that the scientific data do not support a GRASE designation for PE as an ingredient in

19 cough and cold OTC medications.

20              27.      An FDA GRASE designation permits pharmaceutical products companies and
21 retailers with store brands (like Defendant) to market products (like Equate) that contain GRASE

22 ingredients directly to consumers as OTC medications.

23

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     2
         https://www.mayoclinic.org/drugs-supplements/pseudoephedrine-oral-route/side-effects/drg-20067942   (last   viewed
25 Oct. 20, 2023).

26   3
         https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2000711/ (last viewed Oct. 20, 2023).
27   4
      https://www.fda.gov/drugs/information-drug-class/legal-requirements-sale-and-purchase-drug-products-containing-
     pseudoephedrine-ephedrine-and (last viewed Oct. 20, 2023).
28
     5
       https://www.webmd.com/drug-medication/news/20230913/popular-otc-decongestant-ineffective (last viewed Oct. 20,
     2023).
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 1              28.       “OTC medicines do not require a prescription and are typically freely available from

 2 many kinds of retailers.”6 In the United States alone, “there are more than 750,000 retail outlets

 3 that sell OTC products.”7

 4              29.       In 2022, PE versions of oral cough and cold decongestant OTC medications

 5 accounted for about 80% of “the $2.2 billion market,” while PDE versions made up the other

 6 20%.8

 7 Defendant’s Deceptive Marketing Regarding the Efficacy of its PE OTC Products

 8              30.       In the many years preceding the filing of this Complaint, Defendant has advertised,

 9 and continue to advertise, PE as an effective decongestant that relieves nasal congestion and sinus

10 pressure associated with colds, allergies, and other respiratory conditions, even though Defendant

11 knew or should have known that the current scientific data demonstrates that oral PE is ineffective

12 as a nasal decongestant.

13              31.       As a result of its aggressive and misleading marketing tactics, PE Products

14 “generated nearly $1.8 billion in sales last year alone.”

15              32.       Over the many years preceding the filing of this Complaint, Defendant has made

16 extensive claims in their marketing materials concerning the efficacy of their Products.

17              33.       For Equate Children’s Cold and Cough, these claims include:

18                       Equate Children's Cold and Cough relieves cold and allergy symptoms, including
19                        nasal congestion, runny nose, sneezing, coughing and itchy, watery eyes. Each dose

20                        calms allergy symptoms and temporarily restores freer breathing through the nose.

21                       Cough and Cold Relief: This children's cold medicine relieves cold and allergy
22                        symptoms, such as nasal congestion, runny nose, sneezing, cough and itchy, watery

23                        eyes.

24

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     6
         https://www.goodrx.com/healthcare-access/medication-education/otc-isnt-always-cheaper-when-it-pays-to-get-a-
26 prescription (last visited Oct. 20, 2023).

27   7
         https://www.chpa.org/about-consumer-healthcare/research-data/otc-sales-statistics (last visited Oct. 20, 2023).
28   8
       https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-congestion-fda-advisers-say
     (last viewed Oct. 20, 2023).
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 1                  Clears Stuffy Nose: Equate Children's Cold and Cough calms allergy symptoms and
 2                   temporarily restore freer breathing through the nose.

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15         34.       For Equate Daytime Cold & Nighttime Cold & Cough Multi-Symptom Severe

16 Relief Powder, these claims include:

17              Equate Daytime Cold & Nighttime Cold & Cough Severe Relief Powder works hard to

18               provide you with the relief you need to power through your cold. This multi-symptom
                 day and night dissolving powder cold medication packet combo pack is formulated with
19
                 the around-the-clock essentials you need to overcome your symptoms. Both the daytime
20
                 and nighttime formulas act as pain relievers, fever reducers, cough suppressants, and
21
                 nasal decongestants that temporarily relieve nasal congestion, sore throat pain,
22
                 coughing, body aches, fever, and headaches, and the nighttime medication goes a step
23
                 farther to also temporarily relieve runny noses and sneezing.
24
                Temporarily relieves these symptoms due to a cold: minor aches and pains, cough due
25
                 to minor throat and bronchial irritation, headache, nasal and sinus congestion,
26               temporarily reduces fever, and minor sore throat pain.
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11        35.      For Equate Nighttime Vapor Ice Severe Cold and Flu Coated Caplets, these claims

12 include:

13             Compare to Vicks NyQuil Severe+ VapoCOOL active ingredients. Rely on Equate

14              Nighttime Vapor Ice Severe Cold and Flu Coated Caplets for maximum strength relief

15              of multiple cold and flu symptoms: minor aches and pains, fever, nasal congestion and

16              sinus pressure, sneezing, runny nose, and cough. Relieve cold and flu symptoms with

17              one dose containing pain reliever, fever reducer, cough suppressant, antihistamine, and

18              nasal decongestant. Small but powerful, these vapor ice caplets help provide relief for

19              four hours. Take control of your severe cold and flu symptoms with Equate Nighttime

20              Vapor Ice Severe Cold and Flu Coated Caplets.

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          36.      For Equate Daytime Non-Drowsy Vapor Ice Severe Cold and Flu Coated Caplets,
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 1 these claims include:

 2              Compare to Vicks DayQuil Severe+ VapoCOOL active ingredients. Rely on Equate
 3               Daytime Vapor Ice Severe Cold and Flu Coated Caplets for maximum strength relief of

 4               multiple cold and flu symptoms: minor aches and pains, fever, nasal congestion and

 5               sinus pressure, sneezing, runny nose, and cough. Relieve cold and flu symptoms with

 6               one dose containing pain reliever, fever reducer, cough suppressant, antihistamine, and

 7               nasal decongestant. Small but powerful, these vapor ice caplets help provide relief for

 8               four hours. Take control of your severe cold and flu symptoms with Equate Daytime

 9               Vapor Ice Severe Cold and Flu Coated Caplets.

10              This product contains a pain reliever/fever reducer, cough suppressant, antihistamine,
11               and nasal decongestant.

12              Temporarily relieves common cold and flu symptoms such as nasal congestion, sinus
13               congestion and pressure, runny nose and sneezing, minor aches and pain, sore throat,

14               and cough.

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26         37.      For Equate Maximum Strength Daytime Cold & Flu Softgels with Acetaminophen,

27 these claims include:

28              Don't let a cold get you down with Equate Maximum Strength Daytime Cold & Flu


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 1                Softgels. These softgels are formulated with four strong medicines: acetaminophen, a

 2                pain reliever and fever reducer; a cough suppressant; guaifenesin, an expectorant; and

 3                phenylephrine HCl, a nasal decongestant. Together, these medicines relieve cold and flu

 4                symptoms such as headache, fever, sore throat, minor aches and pains, nasal and sinus

 5                congestion and pressure, chest congestion, and cough. They promote nasal and sinus

 6                drainage by thinning and loosening mucus for more regular breathing. These powerful

 7                softgels also help loosen phlegm and thin bronchial secretions to rid the bronchial

 8                passageways of bothersome mucus and make coughs more productive. This box comes

 9                with 24 daytime softgels so that you can get on the road to healing. Relieve your cold

10                and flu symptoms with Equate Maximum Strength Daytime Cold & Flu Softgels.

11               Contains acetaminophen, dextromethorphan, guaifenesin, and phenylephrine HCl.
12               Temporarily relieves cold and flu symptoms such as headache, fever, sore throat, minor
13                aches and pains, nasal and sinus congestion and pressure, chest congestion, and cough.

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24          38.      By representing that the Products are effective remedies for “Sinus Pressure,” “Sinus

25 Congestion,” “Nasal Congestion,” and “Nasal Swelling,” Defendant induced reasonable consumers,

26 such as Plaintiffs and the proposed class members into believing that the Products were effective at

27 providing nasal decongestion relief. Those representations, however, are false and misleading, as set

28 forth in greater detail below.

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 1 The Products’ Use of Phenylephrine

 2              39.      Defendant’s Products all attribute the ability to provide nasal decongestion relief to

 3 one active ingredient: PE.

 4              40.      Defendant does not attribute nasal decongestant relief to any other ingredient in the

 5 Products.

 6 Phenylephrine Does Not Provide Nasal Decongestant Relief When Taken Orally

 7              41.      PE is ineffective at providing nasal decongestant relief when taken orally. All

 8 available scientific authorities support this conclusion.

 9              42.      For example, on May 1, 2006, two professors at the University of Florida, Dr. Leslie

10 Hendeles, PharmD Professor, Pharmacy and Pediatrics, and Dr. Randy Hatton, PharmD FCCP

11 BCPS Clinical Professor, Department of Pharmacotherapy and Translational Research College of

12 Pharmacy published a letter in Journal of Allergy and Clinical Immunology titled: Oral

13 phenylephrine: An ineffective replacement for pseudophedrine?9 The letter questioned the

14 effectiveness of PE for nasal congestion based upon the results of multiple double blind, placebo-

15 controlled studies, that show PE was no more effective than placebo in reducing nasal airway

16 resistance. Moreover, the letter notes that the studies relied on by the FDA to approve PE were

17 unpublished, manufacturer-sponsored studies conducted by commercial testing laboratories.

18              43.      On February 1, 2007, three professors from the University of Florida, Dr. Leslie
19 Hendeles, PharmD Professor, Pharmacy and Pediatrics, Dr. Randy Hatton, PharmD FCCP BCPS

20 Clinical Professor, Department of Pharmacotherapy and Translational Research College of

21 Pharmacy, and Almut G. Winterstein (PhD, Assistant Professor, Department of Healthcare

22 Administration) filed a Citizens Petition with the FDA concerning PE drugs.10

23              44.      As a result of the 2007 Citizens Petition, the FDA’s Nonprescription Drugs Advisory
24 Committee met on December 14, 2007, and concluded that the products could continue to be sold,

25 but 9 of 12 of the committee members voted that “new studies on response to higher doses were

26

27

28   9
         https://www.jacionline.org/article/S0091-6749(06)00633-6/fulltext (last accessed Oct. 20, 2023).

     10
          https://www.regulations.gov/docket/FDA-2007-P-0108/document (last accessed Oct. 20, 2023).
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 1 required.”11

 2                  45.   Scherling-Plough Pharmaceuticals responded to the FDA’s Nonprescription Drugs

 3 Advisory Committee by conducting a multicenter, phase 2, trial among 539 adults with seasonal

 4 allergic rhinitis. The results of the study revealed no significant differences between placebo and

 5 active treatment groups.12

 6                  46.   In addition, McNeil Consumer Healthcare conducted a pharmacokinetic, safety and

 7 cardiovascular tolerability study of phenylephrine. This study revealed no difference in safety and

 8 cardiovascular endpoints between placebo and 10, 20, and 30 mg of phenylephrine even though

 9 phenylephrine was rapidly absorbed and systemic exposure increased disproportionally with

10 increasing dose.13 Phenylephrine, which primarily stimulates alpha-1 adrenergic receptors in the

11 heart, respiratory tract, and other organs, did not induce expected physiological changes, such as

12 increases in pulse and blood pressure, commonly linked to alpha-1 adrenergic stimulation even at

13 doses up to three times higher than the 10 mg dose marketed by Defendant as an effective nasal

14 decongestant.14 In other words, even supratherapeutic doses of phenylephrine may be insufficient to

15 stimulate alpha-1 adrenergic receptors enough to elicit a physiological response.

16                  47.   On November 4, 2015, another Citizens Petition was filed by two professors at the
17 University of Florida, Dr. Leslie Hendeles, PharmD Professor, Pharmacy and Pediatrics, and Dr.

18 Randy Hatton, PharmD FCCP BCPS Clinical Professor, Department of Pharmacotherapy and

19 Translational Research College of Pharmacy. The petition asked the FDA “to remove oral

20 phenylephrine from the Final Monograph for OTC nasal decongestant products.”15 Specifically, the

21 petition asked the FDA to remove Phenylephrine and to remove phenylephrine bitartrate, “both

22

23
     11
          https://www.jaci-inpractice.org/article/S2213-2198(15)00318-9/fulltext (last accessed Oct. 20, 2023).
24
     12
          https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-Petition-re-oral-
25 phenylephrine.pdf (last accessed Oct. 20, 2023).

26   13
        Gelotte CK, Zimmerman BA. Pharmacokinetics, safety, and cardiovascular tolerability of phenylephrine HCl 10, 20,
     and 30 mg after a single oral administration in healthy volunteers. Clin Drug Investig. 2015 Sep;35(9):547-58.
27
     14
          See id.
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     15
        https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-Petition-re-oral-
     phenylephrine.pdf (last accessed Oct. 20, 2023).
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 1 individually and in combination drug products in an effervescent dosage form.”16

 2               48.     According to the 2015 Citizens Petition, “[t]wo additional studies publitheyd in 2009

 3 provide further evidence of the absence of a decongestant effect from the FDA-approved

 4 nonprescription dose of 10mg,” and “PE was not significantly different from placebo in the mean

 5 change in subjective nasal congestion scores whereas pseudoephedrine, a positive control in the

 6 study, decreased congestion significantly greater than placebo and PE.”17

 7 The FDA Advisory Panel’s Recent Vote on PE

 8               49.     Recently, “[t]he FDA held a Non-prescription Drug Advisory Committee meeting…

 9 to discuss the effectiveness of oral phenylephrine as an active ingredient in over-the-counter (OTC)

10 cough and cold products that are indicated for the temporary relief of congestion, both as a single

11 ingredient product and in combination with other ingredients.”18

12               50.     In doing so, the Panel referenced numerous studies demonstrating that PE is not
13 effective for treating nasal congestion when taken orally.

14               51.     As a result, the Panel concluded that “the current scientific data do[es] not support
15 that the recommended dosage of orally administered phenylephrine is effective as a nasal

16 decongestant.”19

17               52.     In fact, the Panel members voted unanimously (16-0) that PE drugs were ineffective
18 when taken orally.

19 Misbranded Drugs Are Illegal to Sell

20               53.     Section 502(a)(1) of the Federal Food, Drug and Cosmetic Act (FFDCA)20 states that
21 a drug is misbranded if its labeling proves false or misleading in any particular. Section 201(n) of

22

23

24   16
          Id.
25   17
          Id.
26   18
        https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-committee-meeting-oral-
     phenylephrine (last accessed Oct. 20, 2023).
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     19
          https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-committee-meeting-oral-
28 phenylephrine (last accessed Oct. 20, 2023).

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          Codified as 21 C.F.R. 352(a)(1).
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 1 the FFDCA21 further states that if a drug is alleged to be misbranded because the labeling or

 2 advertising is misleading, then in determining whether the labeling or advertising is misleading, one

 3 must consider not just the representations made but also the failure to disclose material facts,

 4 especially regarding the drug’s consequences under its prescribed or customary conditions of use.

 5              54.      Defendant’s products containing phenylephrine are misbranded under Section 502(a)

 6 of the FFDCA as described more fully in paragraphs 31-39 supra.

 7              55.      Defendant’s products containing phenylephrine are misbranded under Section 201(n)

 8 of the FFDCA because its labeling and advertising with respect to these products are misleading

 9 under Section 201(n) of the FFDCA. Specifically, Defendant has continued to represent that its

10 products containing phenylephrine are effective nasal decongestants notwithstanding the absence of

11 any supporting scientific evidence nor disclosure of scientific evidence to the contrary.

12              56.      Any drug product not manufactured in accordance with cGMPs is deemed

13 “adulterated” or “misbranded” and may not be distributed or sold in the United States. See 21

14 U.S.C. §§ 331(a), 351(a)(2)(B). States have enacted laws adopting or mirroring these federal

15 standards.

16              57.      FDA regulations require a drug product manufacturer to have “written procedures for

17 production and process control designed to assure that the drug products have the identity, strength,

18 quality, and purity they purport or are represented to possess.” 21 C.F.R. § 211.100.

19              58.      A drug product manufacturer’s “[l]aboratory controls shall include the establishment

20 of scientifically sound and appropriate specifications, standards, sampling plans, and test procedures

21 designed to assure that components, drug product containers, closures, in-process materials,

22 labeling, and drug products conform to appropriate standards of identity, strength, quality, and

23 purity.” 21 C.F.R. § 211.160.

24              59.      “Laboratory records shall include complete data derived from all tests necessary to

25 assure compliance with established specifications and standards, including examinations and

26 assays” and a “statement of the results of tests and how the results compare with established

27 standards of identity, strength, quality, and purity for the component, drug product container,

28

     21
          Codified as 21 C.F.R. 321(n).
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 1 closure, in-process material, or drug product tested.” 21 C.F.R. § 211.194(a)(6).

 2          60.    Defendant could have avoided any potential for misrepresenting the quality

 3 characteristics that it represented the Products possessed by testing the effectiveness of PE in the

 4 Products for the purported claims on the Products’ labeling.

 5          61.    The ineffectiveness of PE in the Products renders the Products both adulterated and

 6 misbranded under the FFDCA. The Products are adulterated because they are “drug[s] and the

 7 methods used in, or the facilities or controls used for, its manufacture, processing, packing, or

 8 holding do not conform to or are not operated or administered in conformity with current good

 9 manufacturing practice to assure that such drug meets the requirements of this chapter as to safety

10 and has the identity and strength, and meets the quality and purity characteristics, which it purports

11 or is represented to possess.” 21 U.S.C. § 351(a)(1).

12          62.    The Products are misbranded because their labeling is “false” and “misleading”

13 because it does not alleviate nasal congestion and/or sinus relief. 21 U.S.C. § 352(a)(1).

14          63.    A product that is “adulterated” or “misbranded” cannot legally be manufactured,

15 advertised, distributed, or sold. 21 U.S.C. § 331(a). Adulterated and misbranded products thus have

16 no economic value and are legally worthless.

17          64.    As alleged herein, Defendant has violated the FFDCA, California’s Consumers

18 Legal Remedies Act (“CLRA”), California’s Unfair Competition Law (“UCL”), California’s False

19 Advertising Law (“FAL”), and consumer protection statutes. Defendant engaged in fraudulent,

20 unfair, deceptive, misleading, and/or unlawful conduct stemming from its misrepresentations and

21 omissions surrounding the quality and purity characteristics affecting the Products.

22          65.    If Defendant had disclosed to Plaintiffs and putative Class Members that the

23 Products do not have the quality characteristics that it purports or is represented to possess,

24 Plaintiffs and putative Class Members would not have purchased the Products, or they would have

25 paid less for the Products.

26          66.    As a seller of an OTC drug product, Defendant had and has a duty to ensure that its

27 Products have the identity and strength and meets the quality characteristics that it purports or is

28 represented to possess, including through regular testing, especially before the Products are injected

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 1 into the stream of commerce for consumers to use on their bodies. But based on the FDA Panel’s

 2 conclusions set forth above, Defendant made no reasonable effort to test its Products for the nasal

 3 decongestant claims it made. Nor did it disclose to Plaintiffs in any advertising or marketing that the

 4 Products did not conform to the nasal decongestant claims it purported or represented to possess. To

 5 the contrary, Defendant represented and warranted, expressly and impliedly, that the Products were

 6 of merchantable quality, complied with federal and state law, and did have the identity and strength

 7 and meet the quality characteristics that it purports or is represented to possess.

 8 Injuries to Plaintiffs and Class Members

 9          67.     When Plaintiffs purchased Defendant’s Products, Plaintiffs did not know, and had no

10 reason to know, that Defendant’s Products did not have the identity and strength and meet the

11 quality characteristics that it purported to possess (i.e., the ability to alleviate nasal congestion). Not

12 only would Plaintiffs not have purchased Defendant’s Products had Plaintiffs known the Products

13 did not have the ability to alleviate nasal congestion, but Plaintiffs would also not have been capable

14 of purchasing them if Defendant had done as the law required and tested the Products for its ability

15 to alleviate nasal congestion.

16          68.     Consumers lack the ability to test or independently ascertain or verify whether a

17 product has the identity and strength and meets the quality characteristics that it purports to possess,

18 especially at the point of sale, and therefore must rely on Defendant to truthfully and honestly report

19 what the Products can do on the Products’ packaging or labels.

20          69.     Further, given Defendant’s position in the retail market as an industry leader,

21 Plaintiffs and reasonable consumers trusted and relied on Defendant’s representations and

22 omissions regarding the ability to alleviate nasal congestion in the Products.

23          70.     Yet, when consumers look at the Products’ packaging, the Products are represented

24 as having the ability to alleviate nasal congestion. This leads reasonable consumers to believe the

25 Products can alleviate nasal congestion.

26          71.     No reasonable consumer would have paid any amount for products that do not have

27 the ability to alleviate nasal congestion, when the Products are marketed to consumers as having the

28 ability to alleviate nasal congestion.

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 1          72.     Thus, if Plaintiffs and Class members had been informed that Defendant’s Products

 2 do not have the ability to alleviate nasal congestion, they would not have purchased or used the

 3 Products, or would have paid significantly less for the Products, making such omitted facts material

 4 to them.

 5          73.     Defendant’s false, misleading, omissions, and deceptive misrepresentations

 6 regarding the Products’ ability to alleviate nasal congestion are likely to continue to deceive and

 7 mislead reasonable consumers and the public, as it has already deceived and misled Plaintiffs and

 8 the Class Members.

 9          74.     Plaintiffs and Class members bargained for a Product that can alleviate nasal

10 congestion. Plaintiffs and Class members were injured by the full purchase price of the Products

11 because the Products are worthless, as they do not have the ability to alleviate nasal congestion, and

12 Defendant failed to warn consumers of this fact. Such illegally sold products are worthless and have

13 no value.

14          75.     As alleged above, the Products purchased by Plaintiffs and Class members do not

15 have the ability to alleviate nasal congestion, despite the Products’ representations to the contrary.

16          76.     Plaintiffs and Class members are further entitled to statutory and punitive damages,

17 attorneys’ fees and costs, and any further relief this Court deems just and proper.

18                          TOLLING OF THE STATUTE OF LIMITATIONS,
                     FRAUDULENT CONCEALMENT, EQUITABLE TOLLING,
19                                  AND CONTINUING VIOLATIONS
20          77.     Plaintiffs did not discover, and could not have discovered through the exercise of

21 reasonable diligence, the existence of the claims sued upon herein until immediately prior to

22 commencing this civil action.

23          78.     Any applicable statutes of limitation have been tolled by Defendant’s affirmative

24 acts of fraudulent concealment and continuing misrepresentations, as the facts alleged above reveal.

25          79.     Because of the self-concealing nature of Defendant’s actions and their affirmative

26 acts of concealment, Plaintiffs and the Classes assert the tolling of any applicable statutes of

27 limitations affecting the claims raised herein.

28          80.     Defendant continues to engage in the deceptive practice, and consequently, unwary

     consumers are injured on a daily basis by Defendant’s unlawful conduct. Therefore, Plaintiffs and
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 1 the Classes submit that each instance that Defendant engaged in the conduct complained of herein

 2 and each instance that a member of any Class purchased Defendant’s Product constitutes part of a

 3 continuing violation and operates to toll the statutes of limitation in this action.

 4          81.     Defendant is estopped from relying on any statute of limitations defense because of

 5 its unfair or deceptive conduct.

 6          82.     Defendant’s conduct was and is, by its nature, self-concealing. Still, Defendant,

 7 through a series of affirmative acts or omissions, suppressed the dissemination of truthful

 8 information regarding its illegal conduct, and actively has foreclosed Plaintiffs and the Classes from

 9 learning of their illegal, unfair, and/or deceptive acts.

10          83.     By reason of the foregoing, the claims of Plaintiffs and the Classes are timely under

11 any applicable statute of limitations, pursuant to the discovery rule, the equitable tolling doctrine,

12 and fraudulent concealment.

13                                        CLASS ALLEGATIONS

14          84.     Plaintiffs, individually and on behalf of all others, bring this class action pursuant to
15 Fed. R. Civ. P. 23.

16          85.     Plaintiffs seeks to represent a class defined as:
17
                    All persons who purchased one or more of Defendant’s Products in
18                  the United States for personal or household use within any applicable
                    limitations period (“Nationwide Class”).
19

20          86.     Plaintiffs also seeks to represent a subclass defined as:
21                  All persons who purchased one or more of Defendant’s Products in
                    California for personal or household use within any applicable
22                  limitations period (“California Subclass”).
23          87.     Excluded from the Class and Subclass are: (1) any Judge or Magistrate presiding
24 over this action and any members of their families; (2) Defendant, Defendant’s subsidiaries,

25 parents, successors, predecessors, and any entities in which Defendant or its parents and any entities

26 in which Defendant has a controlling interest and its current or former employees, officers, and

27 directors; and (3) individuals who allege personal bodily injury resulting from the use of the

28 Products.

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 1          88.       Plaintiffs reserve the right to modify, change, or expand the definitions of the Class

 2 and/or Subclass based upon discovery and further investigation.

 3          89.       Numerosity: The Class is so numerous that joinder of all members is impracticable.

 4 The Class likely contains thousands of members based on publicly available data. The Class is

 5 ascertainable by records in Defendant’s possession.

 6          90.       Commonality: Questions of law or fact common to the Class include, without

 7 limitation:

 8                   Whether the Products can alleviate nasal congestion;
 9                   Whether a reasonable consumer would consider the Products’ inability to alleviate
10                    nasal congestion to be material;

11                   Whether Defendant knew or should have known that the Products do not have the
12                    ability to alleviate nasal congestion;

13                   Whether Defendant misrepresented whether the Products can alleviate nasal
14                    congestion;

15                   Whether Defendant failed to disclose that the Products do not have the ability to
16                    alleviate nasal congestion;

17                   Whether Defendant concealed that the Products do not have the ability to alleviate
18                    nasal congestion;

19                   Whether Defendant engaged in unfair or deceptive trade practices;
20                   Whether Defendant violated the state consumer protection statutes alleged herein;
21                   Whether Defendant was unjustly enriched; and
22                   Whether Plaintiffs and Class members are entitled to damages.
23          91.       Typicality: Plaintiffs’ claims are typical of the claims of Class members. Plaintiffs

24 and Class members were injured and suffered damages in substantially the same manner, have the

25 same claims against Defendant relating to the same course of conduct, and are entitled to relief

26 under the same legal theories.

27          92.       Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class and

28 have no interests antagonistic to those of the Class. Plaintiffs have retained counsel experienced in

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 1 the prosecution of complex class actions, including actions with issues, claims, and defenses like the

 2 present case. Counsel intends to vigorously prosecute this action.

 3          93.     Predominance and superiority: Questions of law or fact common to Class members

 4 predominate over any questions affecting individual members. A class action is superior to other

 5 available methods for the fair and efficient adjudication of this case because individual joinder of all

 6 Class members is impracticable and the amount at issue for each Class member would not justify

 7 the cost of litigating individual claims. Should individual Class members be required to bring

 8 separate actions, this Court would be confronted with a multiplicity of lawsuits burdening the court

 9 system while also creating the risk of inconsistent rulings and contradictory judgments. In contrast

10 to proceeding on a case-by-case basis, in which inconsistent results will magnify the delay and

11 expense to all parties and the court system, this class action presents far fewer management

12 difficulties while providing unitary adjudication, economies of scale and comprehensive supervision

13 by a single court. Plaintiffs are unaware of any difficulties that are likely to be encountered in the

14 management of this action that would preclude its maintenance as a class action.

15          94.     Therefore, this class action may be maintained pursuant to Fed. R. Civ. P. 23(b)(3).

16
                                            COUNT I
17         VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (“UCL”)
                            Cal. Bus. & Prof. Code § 17200, et seq.
18                    (On behalf of Plaintiffs and the California Subclass)
19          95.     Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs
20 as if fully set forth herein.

21          96.     Plaintiffs bring this Count on behalf of themselves and the California Subclass
22 against Defendant.

23          97.     The UCL prohibits any “unlawful, unfair or fraudulent business act or practice and
24 unfair, deceptive, untrue or misleading advertising….” Cal. Bus. & Prof. Code § 17200.

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 1                                     Fraudulent Acts and Practices

 2          98.     Any business act or practice that is likely to deceive members of the public

 3 constitutes a fraudulent business act or practice under the UCL. Similarly, any advertising that is

 4 deceptive, untrue, or misleading constitutes a fraudulent business act or practice under the UCL.

 5          99.     Defendant has engaged in conduct that is likely to deceive members of the public.

 6 This conduct includes representing on its Products’ labels that its Products can alleviate nasal

 7 congestion.

 8          100.    As alleged above, Defendant has engaged in deceptive, untrue, and misleading

 9 advertising by making representations regarding the quality of the Products and material omissions

10 regarding the Products’ ability to alleviate nasal congestion.

11          101.    Plaintiffs and the putative Class members were exposed to one or more of these

12 representations and/or omissions during the class period and relied on one or more of these

13 representations and/or omissions in deciding to purchase Defendant’s Products. Indeed, although

14 the Products were found to not have the ability to alleviate nasal congestion, Defendant makes

15 representations on the Products’ packaging and labels to the contrary. Again, such

16 misrepresentations and omissions mislead consumers regarding the quality of the Products.

17          102.    By committing the acts alleged above, Defendant has engaged in fraudulent business

18 acts and practices, which constitute unfair competition within the meaning of Business &

19 Professions Code §17200.

20                                       Unlawful Acts and Practices

21          103.    The violation of any law constitutes an unlawful business practice under Business &

22 Professions Code §17200.

23          104.    Defendant’s conduct also violates Cal. Health & Safety Code § 111730, which

24 prohibits the sale of any misbranded product. By selling Products that do not accurately reflect the

25 quality of the Products, the labeling is “false and misleading in any particular” in violation of Health

26 & Safety Code § 111730.

27          105.    By violating Cal. Health and Safety Code § 111730, Defendant has engaged in

28 unlawful business acts and practices which constitute unfair competition within the meaning of Cal.

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 1 Bus. & Prof. Code § 17200.

 2                                       Unfair Acts and Practices

 3          106.   Any business practice that offends an established public policy or is immoral,

 4 unethical, oppressive, unscrupulous, or substantially injurious to consumers constitutes an “unfair”

 5 practice under the UCL.

 6          107.   Defendant has engaged in unfair business practices. This conduct includes

 7 representing that the Products can alleviate nasal congestion.

 8          108.   Defendant has engaged in conduct that violates the legislatively declared policies of

 9 the FTC Act against committing unfair methods of competition and unfair or deceptive acts or

10 practices in or affecting commerce. Defendant gained an unfair advantage over its competitors,

11 whose advertising for products must comply with the FTC Act.

12          109.   Defendant’s conduct, including misrepresenting the qualities of the Products, is

13 substantially injurious to consumers. Plaintiffs and the Class would not have paid for nasal

14 decongestant products that do not have the ability to alleviate nasal congestion but for Defendant’s

15 false labeling, advertising, and promotion. Thus, Plaintiffs and the putative Class have “lost money

16 or property” as required for UCL standing, and such an injury is not outweighed by any

17 countervailing benefits to consumers or competition.

18          110.   Indeed, no benefit to consumers or competition results from Defendant’s conduct.

19 Since consumers reasonably rely on Defendant’s representation of the qualities described in the

20 Products’ labels and injury resulted from ordinary use of the Products, consumers could not have

21 reasonably avoided such injury.

22          111.   By committing the acts described above, Defendant has engaged in unfair business

23 acts and practices which constitute unfair competition within the meaning of the UCL.

24          112.   As a result of the conduct described above, Defendant has been unjustly enriched at

25 the expense of the Plaintiffs and the putative Class.

26          113.   An action for restitution is specifically authorized under Cal. Bus. & Prof. Code

27 17203.

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 1          114.    Wherefore, Plaintiffs pray for judgment against Defendant, as set forth hereafter.

 2 Defendant’s conduct with respect to the labeling, advertising, marketing, and sale of the Products is

 3 unfair because Defendant’s conduct was immoral, unethical, unscrupulous, or substantially

 4 injurious to consumers and the utility of its conduct, if any, does not outweigh the gravity of the

 5 harm to its victims.

 6          115.    On behalf of Plaintiffs and the putative Class, Plaintiffs seeks an order for the

 7 restitution of all monies spent on the Products, which were acquired through acts of fraudulent,

 8 unfair, or unlawful competition. In addition, because the Products admittedly do not have the ability

 9 to alleviate nasal congestion, the measure of restitution should be rescission and full refund insofar

10 as the Products are worthless. But for Defendant’s misrepresentations and omissions, Plaintiffs

11 would have paid nothing for Products that do not have the ability to alleviate nasal congestion.

12 Indeed, there is no discernible “market” for an OTC nasal decongestant that does not have the

13 ability to alleviate nasal congestion. As a result, the Products are rendered valueless.

14          116.    Plaintiffs and California Subclass Members have no adequate remedy at law for their

15 claims. Plaintiffs plead their claims for equitable relief in the alternative, which inherently would

16 necessitate a finding of no adequate remedy at law.

17          117.    Alternatively, legal remedies available to Plaintiffs are inadequate because they are

18 not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.

19 Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317

20 (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to

21 warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The

22 mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To

23 have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It

24 must reach the whole mischief and secure the whole right of the party in a perfect manner at the

25 present time and not in the future.”).

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 1
                                               COUNT II
 2                 VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
                                Cal. Bus. & Prof. Code § 17500, et seq.
 3                        (On behalf of Plaintiffs and the California Subclass)

 4          118.     Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs

 5 as if fully set forth herein.

 6          119.     Plaintiffs bring this Count on behalf of themselves and the California Subclass

 7 against Defendant.

 8          120.     California’s False Advertising Law prohibits any statement in connection with the

 9 sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.

10          121.     As set forth herein, Defendant’s marketing claims that its Products can provide relief

11 to “Sinus Pressure,” “Sinus Congestion,” “Nasal Congestion,” and/or “Nasal Swelling,” are untrue

12 and misleading. To the contrary, the Products do not have the ability to alleviate nasal congestion.

13          122.     Defendant knew, or reasonably should have known, that its claims regarding the

14 quality of its Products and/or omissions regarding the Products’ inability to alleviate nasal

15 congestion were untrue or misleading.

16          123.     Plaintiffs and members of the California Subclass are entitled to monetary relief, and

17 restitution in the amount they spent on the Products.

18          124.     Plaintiffs and California Subclass Members have no adequate remedy at law for their

19 claims. Plaintiffs plead their claims for equitable relief in the alternative, which inherently would

20 necessitate a finding of no adequate remedy at law.

21          125.     Alternatively, legal remedies available to Plaintiffs are inadequate because they are

22 not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.

23 Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317

24 (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to

25 warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The

26 mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To

27 have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It

28 must reach the whole mischief and secure the whole right of the party in a perfect manner at the

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 1 present time and not in the future.”).

 2                                        COUNT III
           VIOLATIONS OF THE CALIFORNIA CONSUMERS LEGAL REMEDIES ACT
 3                          Cal. Bus. & Prof. Code § 1750, et seq.
                      (On behalf of Plaintiffs and the California Subclass)
 4
             126.    Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs
 5
     as if fully set forth herein.
 6
             127.    Plaintiffs bring this Count on behalf of themselves and the California Subclass
 7
     against Defendant.
 8
             128.    Defendant has employed or committed methods, acts, or practices declared unlawful
 9
     by Cal. Civ. Code §1770 in connection with the Products.
10
             129.    In particular, by failing to inform consumers that the Products do not have the ability
11
     to alleviate nasal congestion, Defendant has violated the following provisions under California Civil
12
     Code § 1770(a):
13
                     (5) by representing that the Products have characteristics, uses and/or
14                   benefits which they do not;

15                   (7) by representing that the Products were of a particular standard,
                     quality, or grade which they are not; and
16
                     (9) by advertising the Products with intent not to sell them as
17                   advertised.

18           130.    Plaintiffs and the putative Class are not presently seeking monetary damages under

19 the CLRA. Plaintiffs reserve the right to request amendment of this complaint to include a request

20 for damages under the CLRA after complying with Civil Code 1782(a).

21           131.    Plaintiffs and California Subclass Members have no adequate remedy at law for their

22 claims. Plaintiffs plead their claims for equitable relief in the alternative, which inherently would

23 necessitate a finding of no adequate remedy at law.

24           132.    Alternatively, legal remedies available to Plaintiffs are inadequate because they are

25 not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.

26 Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317

27 (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to

28 warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The

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 1 mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To

 2 have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It

 3 must reach the whole mischief and secure the whole right of the party in a perfect manner at the

 4 present time and not in the future.”).

 5                                              COUNT IV
                  BREACH OF EXPRESS WARRANTY OF MERCHANTABILITY
 6             (On behalf of Plaintiffs, the California Subclass, and the Nationwide Class)

 7          133.    Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs

 8 as if fully set forth herein.

 9          134.    Plaintiffs bring this Count on behalf of themselves, the California Subclass, and the

10 Nationwide Class against Defendant.

11          135.    At all times relevant, all fifty States and the District of Columbia and Puerto Rico

12 have codified and adopted the provisions of the Uniform Commercial Code governing the express

13 warranty of merchantability and fitness for ordinary purpose.

14          136.    Plaintiffs, and each member of the California Subclass and the Nationwide Class,

15 formed a contract with Defendant at the time Plaintiffs and the other members of the California

16 Subclass and the Nationwide Class purchased Defendant’s phenylephrine products. The terms of

17 that contract include the nasal decongestive promises and affirmations of fact made by Defendant

18 on its phenylephrine products’ labels and packages as described above. These representations

19 constitute express warranties, became part of the basis of the bargain, and are part of a standardized

20 contract between Plaintiffs and the other members of the California Subclass and the Nationwide

21 Class on the one hand, and Defendant on the other.

22          137.    All conditions precedent to Defendant’s liability under this contract have been

23 performed by Plaintiffs and the other members of the California Subclass and the Nationwide Class.

24          138.    At all relevant times, Defendant had the duty and obligation to truthfully represent to

25 Plaintiffs the facts concerning the ineffectiveness of phenylephrine and its phenylephrine products.

26 Instead, Defendant aggressively and falsely marketed and advertised the effectiveness of

27 phenylephrine and its phenylephrine products, despite the fact that Defendant knew that

28 phenylephrine and its phenylephrine products were entirely ineffective against the nasal congestion

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 1 its phenylephrine products were marketed and advertised to treat.

 2          139.    Defendant breached the terms of this contract, including the express warranties, with

 3 Plaintiffs and the other members of the California Subclass and the Nationwide Class by not

 4 providing the phenylephrine products that could provide the nasal decongestive benefits as

 5 represented and described above.

 6          140.    As a result of Defendant’s breach of its warranty, Plaintiffs and the other members of

 7 the California Subclass and the Nationwide Class have been damaged in the amount of the purchase

 8 price of the phenylephrine products they purchased.

 9                                               COUNT V
                  BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
10             (On behalf of Plaintiffs, the California Subclass, and the Nationwide Class)
11          141.    Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs
12 as if fully set forth herein.

13          142.    Plaintiffs bring this Count on behalf of themselves, the California Subclass, and the
14 Nationwide Class against Defendant.

15          143.    At all times relevant all fifty States and the District of Columbia and Puerto Rico
16 have codified and adopted the provisions of the Uniform Commercial Code governing the implied

17 warranty of merchantability and fitness for ordinary purpose.

18          144.    The Uniform Commercial Code §2-314 provides that unless excluded or modified, a
19 warranty that the goods shall be merchantable is implied in a contract for their sale if the seller is a

20 merchant with respect to goods of that kind. This implied warranty of merchantability acts as a

21 guarantee by the seller that his goods are fit for the ordinary purposes for which they are to be used.

22          145.    The Uniform Commercial Code §2-314 provides that “[g]oods to be merchantable
23 must be at least such as…. Are adequately contained, packaged, and labeled as the agreement may

24 require…[and] conform to the promises or affirmations of fact made on the container or label if

25 any.” Cal.Com.Code § 2314(2)(f).

26          146.    Defendant was always a “merchant” within the meaning of Article 2 of the U.C.C.,
27 as codified under applicable law.

28

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 1          147.    The Products are and were goods within the meaning of Article 2 of the U.C.C., as

 2 codified under applicable law.

 3          148.    Defendant was obligated to provide Plaintiffs and the other Class Members Products

 4 that were of merchantable quality, were reasonably fit for the purpose for which they were sold and

 5 confirmed to the standards of the trade.

 6          149.    Defendant impliedly warranted that those drugs were of merchantable quality and fit

 7 for that purpose.

 8          150.    Defendant breached its implied warranties, because the Products were not of

 9 merchantable quality or fit for their ordinary purpose.

10          151.    Defendant’s breaches of implied warranties were a direct and proximate cause of

11 Plaintiffs’ and the other Class members’ damages.

12                                              COUNT VI
                                         UNJUST ENRICHMENT
13             (On behalf of Plaintiffs, the California Subclass, and the Nationwide Class)
14          152.    Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs
15 as if fully set forth herein.

16          153.    Plaintiffs bring this Count on behalf of themselves, the California Subclass, and the
17 Nationwide Class against Defendant.

18          154.    The claim is brought under the laws of the State of California.
19          155.    Defendant’s conduct violated, inter alia, state and federal law by manufacturing,
20 advertising, marketing, and selling the Products while misrepresenting and omitting material facts.

21          156.    Defendant’s unlawful conduct allowed Defendant to knowingly realize substantial
22 revenues from selling the Products at the expense of, and to the detriment or impoverishment of,

23 Plaintiffs and Class members and to Defendant’s benefit and enrichment. Defendant has thereby

24 violated fundamental principles of justice, equity, and good conscience.

25          157.    Plaintiffs and Class members conferred significant financial benefits and paid
26 substantial compensation to Defendant for the Products, which were not as Defendant represented

27 them to be.

28          158.    Defendant knowingly received and enjoyed the benefits conferred on it by Plaintiffs

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 1 and Class members.

 2          159.    It is inequitable for Defendant to retain the benefits conferred by Plaintiffs and Class

 3 members’ overpayments.

 4          160.    Plaintiffs and Class members seek establishment of a constructive trust from which

 5 Plaintiffs and Class members may seek restitution.

 6                                              COUNT VII
                               FRAUDULENT MISREPRESENTATION
 7             (On behalf of Plaintiffs, the California Subclass, and the Nationwide Class)

 8          161.    Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs

 9 as if fully set forth herein.

10          162.    Plaintiffs bring this Count on behalf of themselves, the California Subclass, and the

11 Nationwide Class against Defendant.

12          163.    At all relevant times, Defendant had the duty and obligation to truthfully represent to

13 Plaintiffs the facts concerning the ineffectiveness of phenylephrine and its phenylephrine products.

14 Instead, Defendant aggressively and falsely marketed and advertised the effectiveness of

15 phenylephrine and its phenylephrine products, despite the fact that Defendant knew, or should have

16 known, that phenylephrine and its phenylephrine products were entirely ineffective against the nasal

17 decongestion its phenylephrine products were marketed and advertised to treat.

18          164.    At all relevant times, at locations including, but not limited to, Defendant’s retail

19 stores and online platforms, Defendant actively marketed and sold its phenylephrine products with

20 labels, advertisements, and promotional materials that prominently represented its phenylephrine

21 products as effective remedies for “Sinus Pressure,” “Sinus Congestion,” “Nasal Congestion,”

22 “Nasal Swelling,” or otherwise effective for relieving nasal congestion.

23          165.    Defendant willfully deceived Plaintiffs and the public in general by making these

24 intentional misrepresentations regarding the effectiveness of phenylephrine and its phenylephrine

25 products notwithstanding its knowledge that phenylephrine is ineffective as a nasal decongestant.

26          166.    At the time the aforesaid misrepresentations were made, Defendant intended to

27 induce Plaintiffs to rely upon such misrepresentations. Defendant continued to promote and sell its

28 phenylephrine products to Plaintiffs and the public in general. Defendant’s intent was clear: to

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 1 induce sales based on false claims regarding the effectiveness of its phenylephrine products.

 2          167.    At the time Defendant made the aforesaid misrepresentations, Plaintiffs and the

 3 public in general reasonably believed them to be true. In reasonable and justified reliance upon said

 4 misrepresentations, Plaintiffs purchased Defendant’s phenylephrine products.

 5          168.    As a direct and proximate result of Defendant’s deceptive marketing and sales

 6 practices, Plaintiffs suffered financial losses, having spent money on Defendant’s phenylephrine

 7 products that did not deliver on their promised benefits, and suffered worse health symptoms due to

 8 receiving ineffective treatment.

 9                                             COUNT VIII
                                NEGLIGENT MISREPRESENTATION
10             (On behalf of Plaintiffs, the California Subclass, and the Nationwide Class)
11          169.    Plaintiffs repeat and reallege every allegation contained in the foregoing paragraphs
12 as if fully set forth herein.

13          170.    Plaintiffs bring this Count on behalf of themselves, the California Subclass, and the
14 Nationwide Class against Defendant.

15          171.    At the time Defendant made these representations, Defendant knew or should have
16 known that these representations were false or made them without knowledge of their truth or

17 veracity.

18          172.    In making representations of fact to Plaintiffs and the members of the California and
19 Nationwide Classes about the Products, Defendant failed to fulfill its duty to disclose the material

20 facts alleged above. Such failure to disclose on the part of Defendant amounts to negligent

21 misrepresentation.

22          173.    At an absolute minimum, Defendant negligently misrepresented and/or negligently
23 omitted material facts about the Products.

24          174.    The negligent misrepresentations and omissions made by Defendant, upon which
25 Plaintiffs and Class members reasonably and justifiably relied, were intended to induce, and

26 induced Plaintiffs and Class members to purchase the Product.

27          175.    Plaintiffs and Class members would not have purchased the Product or would not
28 have purchased the products on the same terms if the true facts had been known.

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 1         176.    Plaintiffs and the other members of the California and Nationwide Classes, as a

 2 direct and proximate cause of Defendant’s negligent misrepresentations, reasonably relied upon

 3 such misrepresentations to their detriment. By reason thereof, Plaintiffs and the other Class

 4 members have suffered damages in an amount to be proven at trial.

 5                                        PRAYER FOR RELIEF

 6         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, prays

 7 for relief and judgment against Defendant as follows:

 8                Certifying the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,
                   appointing Plaintiffs as representatives of the Class and Subclasses, and designating
 9                 Plaintiffs’ counsel as Class Counsel;
10
                  Awarding Plaintiffs and Class members compensatory damages, in an amount to be
11                 determined at trial;

12                Awarding Plaintiffs and Class members appropriate relief, including but not limited
                   to actual damages;
13
                  For restitution and disgorgement of profits;
14

15                Awarding Plaintiffs and Class members reasonable attorneys’ fees and costs as
                   allowable by law;
16
                  Awarding pre-judgment and post-judgment interest;
17
                  For punitive damages; and
18
                  Granting any other relief as this Court may deem just and proper.
19

20                                     DEMAND FOR JURY TRIAL

21         Plaintiffs hereby demand a jury trial on all issues so triable as of right.

22 Dated: October 24, 2023                         Respectfully submitted,

23                                                 KERSHAW TALLEY BARLOW PC

24

25                                                 /s/ William A. Kershaw
                                                   William A. Kershaw (SBN 57486)
26                                                 401 Watt Avenue, Suite 1
                                                   Sacramento, CA 95864
27                                                 Phone: 916-779-7000
                                                   Fax: 916-244-4829
28                                                 Email: bill@kctlegal.com

                                                   FLEMING, NOLEN & JEZ, LLP
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 1                                  George M. Fleming (Pro Hac Vice forthcoming)
                                    Texas State Bar No. 07123000
 2                                  Rand P. Nolen (Pro Hac Vice forthcoming)
                                    Texas State Bar No. 00788126
 3                                  Barrett W. Beck (Pro Hac Vice forthcoming)
                                    Texas State Bar No. 24103837
 4                                  2800 Post Oak Blvd., Suite 4000
                                    Houston, TX 77056
 5                                  Phone: 713-621-7944
                                    Fax: 713-621-9638
 6                                  george_fleming@fleming-law.com
                                    rand_nolen@fleming-law.com
 7                                  barrett_beck@fleming-law.com

 8                                  Counsel for Plaintiffs

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 1                          DECLARATION OF WILLIAM A. KERSHAW

 2                     PURSUANT TO CALIFORNIA CIVIL CODE § 1780(d)

 3 I, William A. Kershaw, declare as follows:

 4         1.      I submit this declaration pursuant to section 1780(d) of the California Consumers

 5 Legal Remedies Act. I have personal knowledge of the matters set forth below and if called as a

 6 witness could and would be competent to testify thereto.

 7         2.      Defendants Walmart, Inc. is an Arkansas corporation with their principal place of

 8 business in Arkansas. Defendant was engaged in the business of sales, marketing, and distribution

 9 of its phenylephrine products in California, and throughout the United States of America.

10         I declare under the penalty of perjury under the laws of the State of California and the

11 United States that the foregoing is true and correct and that this declaration was executed on

12 October 24, 2023 in Sacramento, California.

13
                                                        /s/ William A. Kershaw
14                                                      WILLIAM A. KERSHAW
15

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                                                                                                1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       EMILY HANSEN, SOMMER MILHOUS, and ANDREW
                                                                                                         WALMART, INC.
       GUTIERREZ
   (b) County of Residence of First Listed Plaintiff Sonoma County                                       County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         William A. Kershaw, Kershaw Talley Barlow PC, 401 Watt
         Ave., Ste 1, Sacramento CA 95864, Tel: 916-779-7000
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                 365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability           690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability             ✖ 367 Health Care/                                                       INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                  820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                       New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                        840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                 710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending                Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability        380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                 Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage             740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                              or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                          871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                   IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                          462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                    Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3    Remanded from                4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding          State Court                           Appellate Court                Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1391(b)
VI. CAUSE OF ACTION Brief description of cause:
                                       Products Liability case involving ineffective nasal decongestant products manufactured and sold by Walmart
VII. REQUESTED IN     ✖ CHECK IF THIS IS A CLASS ACTION                                            DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                  excess of $5,000,000                        JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Oct 24, 2023                                                         /s/ William A. Kershaw
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
